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 4
     Attorneys for Co-Lead Plaintiff Movants Dr. Vinod Sodha and
 5   Dr. Amee Sodha and Proposed Lead Counsel for the Class
 6   [Additional Counsel on Signature Page.]
 7                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 8
 9   PHILIP GOLUBOWSKI, Individually and on               Case No. 3:21-cv-09767-EMC
     Behalf of All Others Similarly Situated,
10
                                    Plaintiff,            NOTICE OF MOTION & MOTION OF
11
                                                          DR. VINOD SODHA AND DR. AMEE
            v.                                            SODHA FOR: (1) APPOINTMENT AS
12
                                                          CO-LEAD PLAINTIFFS; AND (2)
     ROBINHOOD MARKETS, INC., VLADIMIR                    APPROVAL OF SELECTION OF LEAD
13   TENEV, JASON WARNICK, BAIJU BHATT,                   COUNSEL; AND MEMORANDUM OF
     JAN HAMMER, PAULA LOOP, JONATHAN                     POINTS & AUTHORITIES IN
14   RUBENSTEIN, SCOTT SANDELL, ROBERT                    SUPPORT
     ZOELLICK, GOLDMAN SACHS & CO. LLC,
15   J.P. MORGAN SECURITIES LLC,
     BARCLAYS CAPITAL INC., WELLS FARGO                   Judge: Hon. Edward M. Chen
16   SECURITIES, LLC, MIZUHO SECURITIES                   Dept.: 5, 17th Floor
     USA LLC, JMP SECURITIES LLC,                         Date: March 24, 2022
17   KEYBANC CAPITAL MARKETS INC.,
     PIPER SANDLER & CO., ROSENBLATT                      Time: 1:30 p.m.
18   SECURITIES INC., BMO CAPITAL
     MARKETS CORP., BTIG, LLC,
19   SANTANDER INVESTMENT SECURITIES
     INC., ACADEMY SECURITIES, INC., LOOP
20   CAPITAL MARKETS LLC, SAMUEL A.
     RAMIREZ & COMPANY, INC., and SIEBERT
21   WILLIAMS SHANK & CO., LLC,
22                                  Defendants
23

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28   NOTICE OF MOTION & MOTION OF DR. VINOD SODHA AND DR. AMEE SODHA FOR: (1) APPOINTMENT AS CO-LEAD PLTFS.;
              AND (2) APPROVAL OF SELECTION OF LEAD COUNSEL; AND MEMO. OF POINTS & AUTHORITIES ISO
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 1                               NOTICE OF MOTION AND MOTION

 2   TO:    ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD

 3          PLEASE TAKE NOTICE that Lead Plaintiff Movants Dr. Vinod Sodha and Dr. Amee

 4   Sodha (the “Sodhas” and/or “Movants”), by and through their undersigned counsel, hereby move

 5   this Court before the Honorable Edward M. Chen, in Courtroom 5, 17th Floor, of the U.S. District

 6   Court for the Northern District of California, San Francisco Courthouse, 450 Golden Gate Avenue,

 7   San Francisco, California 94102, on March 24, 2022, at 1:30 p.m., or as soon thereafter as the

 8   matter may be heard, for the entry of an order, pursuant to §27 of the Securities Act of 1933 (the

 9   “Securities Act”), 15 U.S.C. §77z-1(a)(3)(B), as amended by the Private Securities Litigation

10   Reform Act of 1995 (“PSLRA”): (1) appointing Movants as Co-Lead Plaintiffs for the putative

11   Class; and (2) approving Movants’ selection of Scott+Scott Attorneys at Law LLP (“Scott+Scott”)

12   as Lead Counsel for the putative Class.

13          This motion is made on the grounds that Movants timely filed this motion and are the “most

14   adequate plaintiff[s].” Based on the information presently available, Movants have the largest

15   financial interest in the relief sought by the Class amongst movants for lead plaintiff and they meet

16   the requirements of Rule 23 of the Federal Rules of Civil Procedure (“Rule 23”), as their claims

17   are typical of the claims of the Class, and they will fairly and adequately represent the interests of

18   the Class. In addition, Movants have selected and retained Scott+Scott, a law firm with substantial

19   experience in prosecuting securities class actions, to serve as Lead Counsel.

20          This motion is based on this notice of motion and memorandum of points and authorities

21   herein, the Declaration of Thomas L. Laughlin (“Laughlin Decl.”), filed concurrently herewith and

22   in support hereof, including Exhibits A-E attached thereto, the pleadings and other files and

23   records previously entered in this action, and such other written or oral argument as may be

24   presented to the Court.

25                         STATEMENT OF THE ISSUES TO BE DECIDED

26          1.      Whether the Court should appoint the Sodhas as Co-Lead Plaintiffs pursuant to 15

27   U.S.C. §77z-1(a)(3)(B); and

28                                                     1
     NOTICE OF MOTION & MOTION OF DR. VINOD SODHA AND DR. AMEE SODHA FOR: (1) APPOINTMENT AS CO-LEAD PLTFS.;
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 1           2.      Whether the Court should approve the Sodha’s selection of Scott+Scott as Lead

 2   Counsel for the Class pursuant to 15 U.S.C. §77z-1(a)(3)(B)(v).

 3                        MEMORANDUM OF POINTS AND AUTHORITIES

 4   I.      Introduction

 5           The above-captioned case (the “Action”) is a securities class action brought on behalf of

 6   all those who purchased common stock of Robinhood Markets, Inc. (“Robinhood” or the

 7   “Company”) pursuant to Robinhood’s initial public offering held on or around July 30, 2021 (the

 8   “IPO”). Movants Vinod and Amee Sodha are father and daughter who purchased Robinhood

 9   common stock pursuant to the IPO and suffered significant damages as a result of the

10   misstatements alleged in the Action. Movants respectfully submit this memorandum of points and

11   authorities in support of their motion for: (1) appointment as Co-Lead Plaintiffs pursuant to §27D

12   of the Securities Act, 15 U.S.C. §77z-1(a)(3)(B), as amended by the PSLRA; and (2) approval of

13   their selection of Scott+Scott to serve as Lead Counsel for the putative Class.

14           The PSLRA provides that the Court is to appoint as lead plaintiff the member of the

15   purported plaintiff class with the largest financial interest in the action that otherwise satisfies the

16   requirements of Rule 23. 15 U.S.C. §77z-1(a)(3)(B)(iii). As demonstrated below, Movants should

17   be appointed to serve as Co-Lead Plaintiffs for this Action because: (1) their motion for

18   appointment is timely filed; (2) based on information presently available, they have the largest

19   financial interest in this litigation; and (3) they are adequate and typical Class members. See 15

20   U.S.C. §77z-1(a)(3)(B)(iii) (describing the PSLRA standard for lead plaintiff appointment); In re

21   Cavanaugh, 306 F.3d 726, 729-30 (9th Cir. 2002) (same). In addition, Movants’ selection of

22   Scott+Scott to serve as Lead Counsel for the putative Class should be approved. See 15 U.S.C.

23   §77z-1(a)(3)(B)(v) (“The most adequate plaintiff shall, subject to the approval of the court, select

24   and retain counsel to represent the class.”). Scott+Scott has a long history of successfully litigating

25   securities class actions and possesses the necessary resources to aggressively prosecute this action

26   on behalf of the putative Class.

27

28                                                      2
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 1   II.        Factual Background

 2              On December 17, 2021, this putative class action was filed by Plaintiff Golubowski against

 3   Robinhood, certain of the Company’s officers and directors, and the underwriters of the IPO

 4   (collectively, “Defendants”). The Action asserts claims under §§11, 12(a)(2), and 15 of the

 5   Securities Act, 15 U.S.C. §§77k, 77l(a)(2), and 77o. ¶¶1, 75, 90, 92.1

 6              Robinhood held its IPO on July 30, 2021, offering 55 million shares of common stock to

 7   the public at a price of $38 per share, for anticipated proceeds of over $2 billion. ¶3. The

 8   Complaint alleges that the offering documents filed with the Securities and Exchange Commission

 9   in connection with the IPO contained representations that were materially inaccurate, misleading,

10   and/or incomplete because they failed to disclose that, at the time of the IPO, Robinhood’s revenue

11   growth was experiencing a major reversal, with transaction-based revenues from cryptocurrency

12   trading serving only as a short-term, transitory injection, masking what was actually stagnating

13   growth. ¶5. In addition, the Company’s “significant investments” in enhancing the reliability and

14   scalability of its platform were patently inadequate and/or defective, exposing Robinhood to

15   worsening service-level disruptions and security breaches, particularly as the Company scaled its

16   services to a larger user base. Id.; see also ¶¶51-60. As these true facts emerged after the IPO, the

17   Company’s shares fell sharply – by the commencement of this Action, Robinhood’s shares traded

18   as low as $17.08 per share, a decline of over 55% from the $38 IPO price. ¶6; see also ¶¶61-66.

19   III.       Argument

20              A.      Movants Should Be Appointed Co-Lead Plaintiffs

21                            1.    MOVANTS’ MOTION IS TIMELY
22              Within 20 days of filing a securities class action, the plaintiff must publish a notice
23   informing putative class members of their right to file a motion for appointment as lead plaintiff
24   (the “Early Notice”). 15 U.S.C. §77z-1(a)(3)(A)(i). Following the commencement of the Action,
25   on December 17, 2021, Counsel for Plaintiff Golubowski published notice of pendency of the
26   1
            All “¶” and “¶¶” citations are to the Class Action Complaint filed on December 17, 2021
27   (ECF No. 1) (the “Complaint”) and the facts set forth in the Complaint are incorporated herein by
     reference.
28                                                    3
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 1   action via GlobeNewswire. See Laughlin Decl., Ex. A. Because the Early Notice was published

 2   within 20 days of the filing of the Action, notice was timely. See Miami Police Relief & Pension

 3   Fund v. Fusion-io, Inc., No. 13-CV-05368, 2014 WL 2604991, at *4 (N.D. Cal. June 10, 2014)

 4   (finding notice “timely because it was published within 20 days after the filing of the complaint”).

 5          All putative Class members seeking to be appointed lead plaintiff in this matter are required

 6   to move for appointment within 60 days of publication of the Early Notice, or February 15, 2022.

 7   15 U.S.C. §77z-1(a)(3)(A)-(B). Since the instant motion was filed within 60 days from the

 8   publication of the Early Notice, it is timely. 15 U.S.C. §77z-1(a)(3)(A)(i)(II). Moreover, Movants

 9   have submitted certifications stating their willingness to serve as representative parties on behalf

10   of the Class. See Laughlin Decl., Ex. B. Movants have also submitted a Joint Declaration

11   demonstrating their adequacy. See Laughlin Decl., Ex. C.

12                        2.    MOVANTS HAVE THE LARGEST FINANCIAL STAKE IN
                                THE RELIEF SOUGHT BY THE CLASS
13

14          The PSLRA provides that courts: “shall appoint as lead plaintiff the member or members
15   of the purported plaintiff class that the court determines to be most capable of adequately
16   representing the interests of class members (hereafter in this paragraph referred to as the ‘most
17   adequate plaintiff’) in accordance with this subparagraph.”           15 U.S.C. §77z-1(a)(3)(B)(i).
18   Furthermore, there is a “rebuttable presumption that the most adequate plaintiff in any private
19   action arising under this [title]” is the movant that “has the largest financial interest in the relief
20   sought by the class[.]” 15 U.S.C. §77z-1(a)(3)(B)(iii)(I)(bb); see also Richardson v. TVIA, Inc.,
21   No. C 06 06304, 2007 WL 1129344, at *2 (N.D. Cal. Apr. 16, 2007) (discussing the PSLRA lead
22   plaintiff appointment process); Feyko v. Yuhe Int’l Inc., No. CV 11-05511, 2012 WL 682882, at
23   *2 (C.D. Cal. Mar. 2, 2012) (same) (citing Cavanaugh, 306 F.3d at 730). Courts generally agree
24   that approximate losses suffered are most determinative in identifying the plaintiff with the largest
25   financial interest in the case. Richardson, 2007 WL 1129344, at *4.
26          Based on the information presently available, Movants are the class members with the
27   largest financial interest in the relief sought in this litigation. Movants suffered common stock
28                                                     4
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 1   losses of nearly $1.4 million, plus additional losses in options transactions. See Laughlin Decl.,

 2   Ex. D. Given that Movants have the largest financial interest in this litigation and, as discussed

 3   below, satisfy all of the PSLRA prerequisites for appointment as lead plaintiffs, they should be

 4   appointed Co-Lead Plaintiffs pursuant to 15 U.S.C. §77z-1(a)(3)(B).

 5                        3.    MOVANTS ARE OTHERWISE QUALIFIED UNDER RULE 23

 6          Pursuant to §27(a)(3)(B) of the Securities Act, a proposed lead plaintiff must also

 7   “otherwise satisf[y] the requirements of Rule 23.” 15 U.S.C. §77z-1(a)(3)(B)(iii)(I)(cc). Rule

 8   23(a) provides that a party may serve as a class representative only if the following four

 9   requirements are satisfied: “(1) the class is so numerous that joinder of all members is

10   impracticable; (2) there are questions of law or fact common to the class; (3) the claims or defenses

11   of the representative parties are typical of the claims or defenses of the class; and (4) the

12   representative parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P.

13   23(a). Of the four prerequisites, only two – typicality and adequacy – directly address the personal

14   characteristics of the class representative. Consequently, in deciding a motion to serve as lead

15   plaintiff, the court need only make findings as to the typicality and adequacy of the proposed lead

16   plaintiff and, at this stage, those findings need only be “preliminary.” See, e.g., Westley v. Oclaro,

17   Inc., No. C-11-2448, 2011 WL 4079178, at *2 (N.D. Cal. Sept. 12, 2011) (noting that only a

18   “preliminary showing” of typicality and adequacy satisfies Rule 23 at the lead plaintiff stage).

19          The typicality requirement of Rule 23(a)(3) is satisfied when the representative party ‘“has

20   suffered the same injuries as other class members as a result of the same conduct by defendants

21   and has claims based on the same legal issues.’” Id. Here, Movants’ claims are typical of the

22   claims of the other members of the putative Class because, like all other Class members, they:

23   (1) purchased Robinhood common stock during the Class Period; (2) were adversely affected by

24   Defendants’ alleged misconduct; and (3) suffered damages as a result thereof. See Russo v.

25   Finisair Corp., No. 5:CV11-01252, 2011 WL 5117560, at *4 (N.D. Cal. Oct. 27, 2011) (discussing

26   ways in which a lead plaintiff movant can meet the typicality requirement). Since the claims

27   asserted by Movants are based on the same legal theories and arise “from the same event or practice

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 1   or course of conduct that gives rise to the claims of other class members,” typicality is satisfied.

 2   NEWBERG ON CLASS ACTIONS §3:13 (4th ed. 2008).

 3          With respect to adequacy, movants are adequate class representatives when they possess

 4   common interests and an absence of conflict with fellow class members and movant’s attorneys

 5   are qualified, experienced, and vigorously able to conduct the litigation. See Westley, 2011 WL

 6   4079178, at *2 (explaining that, with regard to the adequacy requirement, a court must evaluate

 7   ‘“whether: (1) the lead plaintiff’s claims conflict with those of the class; and (2) class counsel is

 8   qualified, experienced, and generally able to conduct the litigation’”). Movants satisfy the

 9   “adequacy” requirement in the instant litigation because their interests are clearly aligned with the

10   interests of the putative Class. Moreover, Movants, like all other members of the Class, suffered

11   losses as a result of purchasing Robinhood common stock pursuant to the IPO. Movants, therefore,

12   will benefit from the same relief as other Class members. In short, there is absolutely no evidence

13   of antagonism between Movants and the putative Class.

14          Movants have also demonstrated that they are adequate representatives in this matter by

15   retaining competent and experienced counsel. As shown below, Scott+Scott is highly qualified,

16   experienced, and able to conduct this complex litigation in a professional manner. Finally,

17   Movants have submitted a Joint Declaration evidencing their adequacy, including their preexisting

18   relationship as father and daughter. See Laughlin Decl., Ex. C. Accordingly, Movants have made

19   a prima facie showing that they satisfy all of the requirements of Rule 23 for the purposes of this

20   motion.

21          B.      The Court Should Approve Movants’ Choice of Counsel

22          The PSLRA vests authority in the lead plaintiff to select and retain lead counsel, subject to

23   this Court’s approval. See 15 U.S.C. §77z-1(a)(3)(B)(v); Cavanaugh, 306 F.3d at 734-35. As

24   such, this Court should not disturb the lead plaintiff’s choice of counsel unless necessary to

25   “protect the interests of the class[.]” 15 U.S.C. §77z-1(a)(3)(B)(iii)(II)(aa); see also Cohen v. U.S.

26   Dist. Ct. for N. Dist. of California., 586 F.3d 703, 712 (9th Cir. 2009) (“[I]f the lead plaintiff has

27   made a reasonable choice of counsel, the district court should generally defer to that choice.”)

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 1   (citing In re Cendant Corp. Litig., 264 F.3d 201, 276 (3d Cir. 2001)); Cavanaugh, 306 F.3d at 733

 2   n.12.

 3              Movants have selected the law firm of Scott+Scott to represent the Class. Scott+Scott has

 4   substantial experience in the prosecution of securities fraud class actions and possesses the

 5   necessary resources to efficiently conduct this litigation. See Laughlin Decl., Ex. E. Specifically,

 6   Scott+Scott has served as Lead or Co-Lead counsel in many high-profile class actions and

 7   recovered hundreds of millions of dollars for victims of corporate fraud.2

 8              Scott+Scott’s efforts have not gone unnoticed by the courts. For instance, in Cornwell v.

 9   Credit Suisse Grp., No. 08-cv-03758, 2011 WL 13263367, at *2 (S.D.N.Y. July 20, 2011), a case

10   in which Scott+Scott served as Lead counsel and recovered $70 million for the class, the Court

11   stated:

12              Lead Plaintiff’ counsel demonstrated that notwithstanding the barriers erected by
                the PSLRA, they would develop evidence to support a convincing case. Based
13              upon Lead Plaintiff’ counsel’s diligent efforts on behalf of the Settlement Class, as
                well as his skill and reputations, Lead Plaintiff’ counsel were able to negotiate a
14              very favorable result for the Settlement Class. Lead Plaintiff’ counsel are among
                the most experienced and skilled practitioners in the securities litigation field, and
15              have unparalleled experience and capabilities as preeminent class action specialists.
                (Id.)
16
                Scott+Scott currently serves as court-appointed Lead or Co-Lead counsel in various federal
17
     securities class actions, including: Marechal v. Acadia Pharmaceuticals Inc., No. 3:21-cv-762
18
     (S.D. Cal.); Jochims v. Oatly Group AB, No. 21-cv-6360 (S.D.N.Y.); Gupta v. Athenex, Inc., No.
19
     21-cv-00337 (W.D.N.Y.); Garnett v. Wang [RLX Technology, Inc.], No. 21-cv-05125 (S.D.N.Y.),
20
     2
21           Recoveries obtained by Scott+Scott, acting as lead or co-lead counsel, include: In re
     SanDisk LLC Sec. Litig., No. 3:15-cv-01455 (N.D. Cal.) ($50 million); Mustafin v. GreenSky,
22   Inc., No. 1:18-cv-11071 (S.D.N.Y.) ($27.5 million settlement); In re Evoqua Water Techs. Corp.
     Sec. Litig., No. 1:18-cv-10320 (S.D.N.Y.) ($14.5 million settlement); Weston v. RCS Capital
23   Corp., No. 1:14-cv-10136 (S.D.N.Y.) ($31 million); Policemen’s Annuity & Benefit Fund of the
     City of Chi. v. Bank of Am., N.A., No. 1:12-cv-02865 (S.D.N.Y.) ($69 million); In re
24   Priceline.com Inc. Sec. Litig., No. 3:00-cv-01844 (D. Conn.) ($80 million); Thurber v. Mattel,
     Inc., No. 2:99-cv-10368 (C.D. Cal.) ($122 million); In re Emulex Corp. Sec. Litig., No. 8:01-cv-
25   00219 (C.D. Cal.) ($39 million); In re Sprint Sec. Litig., No. 00-230077 (Mo. Cir. Ct., Jackson
     Cty.) ($50 million); In re Nw. Corp. Sec. Litig., No. 4:03-cv-04049 (D.S.D.) ($61 million); Irvine
26   v. ImClone Sys., Inc., No. 1:02-cv-00109 (S.D.N.Y.) ($75 million); Schnall v. Annuity & Life Re
     (Holdings) Ltd., No. 3:02-cv-02133 (D. Conn.) ($27 million); In re Wash. Mut. Mortg. Backed
27   Sec. Litig., No. 2:09-cv-00037 (W.D. Wash.) ($26 million); and In re Conn’s, Inc. Sec. Litig., No.
     4:14-cv-00548 (S.D. Tex.) ($22.5 million).
28                                                     7
         NOTICE OF MOTION & MOTION OF DR. VINOD SODHA AND DR. AMEE SODHA FOR: (1) APPOINTMENT AS CO-LEAD PLTFS.;
                  AND (2) APPROVAL OF SELECTION OF LEAD COUNSEL; AND MEMO. OF POINTS & AUTHORITIES ISO
                                                 Case No. 3:21-cv-09767-EMC
     Case 3:21-cv-09767-EMC Document 45 Filed 02/15/22 Page 12 of 14




 1   Abadilla v. Precigen, Inc., No. 5:20-cv-06936 (N.D. Cal.); Blake v. MacroGenics, Inc., No. 8:19-

 2   cv-02713 (D. Md.); Kanugonda v. Funko, Inc., No. 2:18-cv-00812 (W.D. Wash.); Corwin v.

 3   ViewRay, Inc., No. 1:19-cv-02115 (N.D. Ohio); Mo-Kan Iron Workers Pension Fund v. Teligent,

 4   Inc., No. 1:19-cv-03354 (S.D.N.Y.); In re Weight Watchers Int’l, Inc. Sec. Litig., No. 1:19-cv-

 5   02005 (S.D.N.Y.); Silverberg v. DryShips Inc., No. 2:17-cv-04547 (E.D.N.Y.); and Robinson v.

 6   Diana Containerships Inc., No. 2:17-cv-06160 (E.D.N.Y.).

 7          In light of the foregoing, the Court should approve Movants’ selection of Scott+Scott as

 8   Lead Counsel. The Court can be assured that by approving Movants’ choice of counsel, the

 9   putative Class will receive the highest caliber of representation.

10   IV.    Conclusion

11          For the foregoing reasons, Movants respectfully request that the Court appoint them as Co-

12   Lead Plaintiffs, and approve their selection of Scott+Scott to serve as Lead Counsel.

13   Dated: February 15, 2022                       SCOTT+SCOTT ATTORNEYS AT LAW LLP

14                                                    s/ Thomas L. Laughlin
                                                    Thomas L. Laughlin, IV (admitted pro hac vice)
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                                                    Rhiana Swartz (pro hac vice forthcoming)
16                                                  Jonathan M. Zimmerman (pro hac vice forthcoming)
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21
                                                    SCOTT+SCOTT ATTORNEYS AT LAW LLP
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     Case 3:21-cv-09767-EMC Document 45 Filed 02/15/22 Page 13 of 14



                                                    Counsel for Lead Plaintiff Movants Dr. Vinod Sodha
 1                                                  and Dr. Amee Sodha and Proposed Lead Counsel for
                                                    the Class
 2
                                                    THE SCHALL LAW FIRM
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 6                                                  brian@schallfirm.com

 7                                                  Additional Counsel for Lead Plaintiff Movants Dr.
                                                    Vinod Sodha and Dr. Amee Sodha
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     Case 3:21-cv-09767-EMC Document 45 Filed 02/15/22 Page 14 of 14




 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on February 15, 2022, I caused the foregoing document to be filed

 3   with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

 4   to the email addresses denoted on the Electronic Mail Notice List.

 5          Executed on February 15, 2022, at San Diego, California.

 6
                                                     s/ Thomas L. Laughlin
 7                                                  Thomas L. Laughlin (admitted pro hac vice)
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